Case 1:02-at-06000-UN
Case 3:20-cv-01384-MCCDocument
                        Document 1-2 Filed
                               738-2 Filed 08/06/20
                                           08/05/20 Page
                                                    Page 11 of
                                                            of 33




                    EXHIBIT A
Case 1:02-at-06000-UN
Case 3:20-cv-01384-MCCDocument
                        Document 1-2 Filed
                               738-2 Filed 08/06/20
                                           08/05/20 Page
                                                    Page 22 of
                                                            of 33
Case 1:02-at-06000-UN
Case 3:20-cv-01384-MCCDocument
                        Document 1-2 Filed
                               738-2 Filed 08/06/20
                                           08/05/20 Page
                                                    Page 33 of
                                                            of 33
